      Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 1 of 33 PageID #:1




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
                                                   )
JAMES SNOW, Reg. No. N-50072,                      )
                                                   )
    PETITIONER                                     ) No. 13 CV 3947
                                                   )
         v.                                        )
                                                   )
MICHAEL LEMKE, Warden, Superintendent,             )
or authorized person having custody of petitioner, )
                                                   ) Case Number of State Court
    RESPONDENT.                                    ) Conviction: 99 CR 1016


    PETITIO FOR WRIT OF HABEAS CORPUS – PERSO I STATE CUSTODY

1. Name and location of court where conviction entered:

    Circuit Court of McLean County
    Bloomington, Illinois

2. Date of judgment of conviction:

    May 10, 2001

3. Offense(s) of which petitioner was convicted (list all counts with indictment numbers, if
   known)

    Count I: First Degree Murder, knowingly without lawful justification killed William Little by
    shooting William Little with a firearm and in performing the act which caused the death of
    William Little he intended to kill William Little, in violation of Illinois Revised Statutes Ch.
    38, Sec. 9-1(a)(1) (1991) (intentional murder).

    Count II: First Degree Murder, knowingly without lawful justification killed William Little
    by shooting William Little with a firearm and in performing the act which caused the death
    of William Little he knew said act created a strong probability of death or great bodily harm
    to William Little, in violation of Illinois Revised Statutes Ch. 38, Sec. 9-1(a)(2) (1991)
    (knowing murder).

    Count III: First Degree Murder, knowingly committed the forcible felony of Armed Robbery
    in violation of Ch. 38, Sec. 18-2, in that he took U.S. currency from the person or presence of
    William Little and while he committed said Armed Robbery he killed William Little by
    shooting William Little with a firearm, in violation of Illinois Revised Statutes Ch. 38, Sec.
    9-1(a)(3) (1991) (felony murder).
     Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 2 of 33 PageID #:2




4. Sentence(s) imposed:      Natural life on each count.

5. What was your plea? (Check one)          (A) Not guilty      (X)
                                            (B) Guilty          ( )
                                            (C) Nolo contendere ( )

   If you pleaded guilty to one count or indictment and not guilty to another count or
   indictment, give details:         N/A




                                               2
                                                                                         Revised: 11/03/11
      Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 3 of 33 PageID #:3




PART I – TRIAL AD DIRECT REVIEW

1. Kind of trial: (Check one):        Jury ( X )             Judge only ( )

2. Did you testify at trial?          YES ( X )              NO        ( )

3. Did you appeal from the conviction or the sentence imposed? YES ( X ) NO ( )

    (A) If you appealed, give the

       (1)   Name of court: Illinois Appellate Court, Fourth District

       (2)   Result:           Convictions and sentences on Counts II (knowing murder) and III
                               (intentional murder) vacated; otherwise, judgment affirmed.

       (3)   Date of ruling: August 20, 2004 (unpublished Rule 23 order)

       (4)   Issues raised:

             1.    Whether the trial court erred by not appointing Mr. Snow new counsel for a
                   hearing on his claim that his attorneys neglected his case. Specifically, Mr.
                   Snow argued that his trial counsel Pat Riley and Frank Picl misrepresented the
                   time they spent with him; Picl was intoxicated in court and during trial
                   preparation; Riley was impaired by a stroke he suffered in January 2000; and
                   trial counsel failed to impeach eleven of the State’s witnesses by introducing
                   testimony from other witnesses.

             2.    Whether the trial court erred by not allowing Mr. Snow to present expert
                   testimony concerning eyewitness identification.

             3.    Whether the trial court erred in admitting several pieces of evidence.

             4.    Whether the prosecutor made improper and unduly prejudicial remarks during
                   her closing arguments.

             5.    Whether the trial court erred in giving an accountability instruction.

             6.    Whether the State failed to prove Mr. Snow guilty beyond a reasonable doubt.

             7.    Whether Mr. Snow was denied effective assistance of counsel because his trial
                   counsel failed to lay the proper foundation for witness William Hendricks,
                   who would have impeached Danny Martinez; violated a discovery order that
                   led to the inadmissibility of impeachment testimony from Tony Reynolds,
                   Jason Boyd, and Billy Morris; failed to impeach Martinez with evidence that
                   he failed to identify Mr. Snow in a photograph array; failed to object to State’s

                                                   3
                                                                                            Revised: 11/03/11
     Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 4 of 33 PageID #:4




                  admission of Mr. Snow’s reluctance to participate in a lineup; and failed to
                  preserve for appeal their objection to William Gaddis’s hearsay testimony.

            8.    Whether the trial court erred in sentencing him to natural life in prison.

    (B) If you did not appeal, explain briefly why not:       N/A

4. Did you appeal, or seek leave to appeal, to the highest state court? YES ( X ) NO ( )

    (A) If yes, give the

        (1) Result:             Petition for leave to appeal to the Illinois Supreme Court denied

         (2) Date of ruling:    November 24, 2004

         (3) Issues raised:

            1.    Whether new counsel should have been appointed and a hearing under People
                  v. Krankel, 102 Ill.2d 181 (1984), held after Mr. Snow filed a pro se motion
                  alleging ineffective assistance of trial counsel.

            2.    Whether Mr. Snow was denied effective assistance of counsel when his trial
                  counsel failed to lay a proper foundation for the impeachment of Danny
                  Martinez with testimony from William Hendricks and Mark Foster; violated a
                  discovery order to provide the State with names of potential defense
                  witnesses, resulting in the defense being precluded from calling Charles
                  Crowe, who would have impeached State’s witnesses Martinez and Gerardo
                  Gutierrez; failed to introduce evidence that the defendant’s photo was in the
                  array shown to Martinez and Gerardo Gutierrez and both failed to identify Mr.
                  Snow; and failed to object to hearsay evidence that was improperly admitted at
                  trial.

            3.    Whether there were evidentiary errors that denied Mr. Snow a fair trial.

            4.    Whether the prosecutor’s closing arguments were improper and mandate a
                  new trial.

    (B) If no, why not:       N/A

5. Did you petition the United States Supreme Court for a writ of certiorari?

        YES ( ) NO ( X )

    If yes, give (A) date of petition: ___________ (B) date certiorari was denied: ____________


                                                  4
                                                                                         Revised: 11/03/11
      Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 5 of 33 PageID #:5




PART II – COLLATERAL PROCEEDIGS

1. With respect to this conviction or sentence, have you filed a post-conviction petition in state
   court?

    YES ( X ) NO ( )

    With respect to each post-conviction petition give the following information (use additional
    sheets if necessary):

First pro se petition for post-conviction relief:

    A. Name of court:      Circuit Court of McLean County

    B. Date of filing:     May 10, 2004

    C. Issues raised:

       1.    Whether Mr. Snow was denied effective assistance of counsel where trial counsel
             failed to investigate, interview witnesses, file motions to suppress and strike,
             introduce certain evidence, call certain witnesses, impeach the State’s witnesses,
             and object to certain testimony.

Pro se supplemental amendment to petition for post-conviction relief:

    A. Name of court:      Circuit Court of McLean County

    B. Date of filing:     June 23, 2004

    C. Issues raised:

       1.    Whether Mr. Snow was denied effective assistance of counsel where trial counsel
             failed to investigate DNA evidence found at the scene of the crime and object to Mr.
             Snow’s wearing of restraints during trial.

       2.    Whether Mr. Snow’s right to Due Process and a fair trial was violated when the trial
             court required him to wear restraints throughout his trial.

Pro se second supplemental amendment to petition for post-conviction relief:

    A. Name of court:      Circuit Court of McLean County

    B. Date of filing:     February 10, 2006

    C. Issues raised:

                                                 5
                                                                                        Revised: 11/03/11
     Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 6 of 33 PageID #:6




       1.   Whether Mr. Snow’s right to Due Process and a fair trial was violated when the
            State knowingly used perjured testimony.

       2.   Whether Mr. Snow’s right to Due Process and a fair trial was violated when the
            State withheld exculpatory evidence.

       3.   Whether Mr. Snow’s right to effective assistance of counsel was violated when trial
            counsel failed to object to the inadmissible testimony of Detectives Russell Thomas
            and Michael Bernardini.

Amended petition for post-conviction relief filed by appointed counsel:

   A. Name of court:     Circuit Court of McLean County

   B. Date of filing:    March 31, 2006

   C. Issues raised:

       1.   Whether Mr. Snow’s right to Due Process and a fair trial was violated due to his
            improper shackling before the jury during trial.

       2.   Whether Mr. Snow’s right to effective assistance of counsel was violated when his
            appellate counsel failed to brief or argue the issue of his improper shackling before
            the jury during trial.

       3.   Whether Mr. Snow’s right to Due Process and a fair trial was violated when the
            State knowingly used the perjured testimony of Kevin Schaal and withheld
            exculpatory evidence concerning promises made to Kevin Schaal.

       4.   Whether Mr. Snow’s right to Due Process and a fair trial was violated when the
            State failed to disclose exculpatory evidence concerning Steve Scheel’s testimony
            and the State induced him to testify falsely.

Pro se amended petition for post-conviction relief:

   A. Name of court:     Circuit Court of McLean County

   B. Date of filing:    January 9, 2008

   C. Issues raised:

       1.   Whether Mr. Snow was denied effective assistance of trial counsel

       2.   Whether Mr. Snow was denied effective assistance of appellate counsel

                                                6
                                                                                       Revised: 11/03/11
     Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 7 of 33 PageID #:7




       3.   Whether the State’s knowing use of perjured testimony violated Mr. Snow’s right to
            Due Process

       4.   Whether Mr. Snow was denied the right to a fair trial by an impartial jury.

       5.   Whether Mr. Snow’s right to Due Process was violated by the imposition of a
            sentence that did not comply with the Illinois statutory maximum requirement.

Amended petition for post-conviction relief filed by retained counsel:

   A. Name of court:      Circuit Court of McLean County

   B. Date of filing:     January 27, 2010

   C. Issues raised:

       1.   Whether Mr. Snow’s conviction and continued detention violates his right to Due
            Process because newly discovered evidence proves his actual innocence.

       2.   Whether Mr. Snow was denied effective assistance of counsel under the Sixth and
            Fourteenth Amendments to the United States Constitution and Article I, Section 8
            of the Illinois Constitution because his trial counsel:

            a.    failed to use Jeffery Pelo’s interview transcript, the police reports concerning
                  Danny Martinez, and testimony from Dennis Hendricks and William
                  Hendricks as guides to elicit testimony from Pelo and to discredit Martinez’s
                  testimony that Mr. Snow came out of the gas station;

            b.    failed to subpoena the police radio tapes, which support Pelo’s version of
                  events and which, considered with Pelo and Officer Paul Williams’ testimony,
                  establish that Martinez’s testimony is incredible;

            c.    failed to call Thomas Sanders, whose testimony was readily available, to
                  discredit Carlos Luna’s “identification” of Mr. Snow;

            d.    failed to interview Steve Scheel, who told investigator Larry Biela that if
                  counsel had spoken to him in advance, he would have told them that he had
                  been provided information by the prosecution and been pressured to testify
                  falsely against Mr. Snow;

            e.    failed to file a motion to suppress arguing that Danny Martinez’s identification
                  of Mr. Snow was unreliable and the product of inherently suggestive tactics;

            f.    failed to investigate the report from Randall Howard that someone on the jury

                                                7
                                                                                        Revised: 11/03/11
     Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 8 of 33 PageID #:8




                  knew Mr. Snow and had a reason to have animus against him;

            g.    failed to investigate Karen Strong’s reasons for providing false testimony
                  against Mr. Snow;

            h.    failed to investigate available evidence that witnesses in this case received
                  deals in exchange for their testimony, and to use that evidence to impeach
                  those witnesses. Counsel also failed to develop evidence that would have
                  impeached the witnesses who claimed Mr. Snow confessed to them while they
                  were incarcerated together;

            i.    failed to investigate and present evidence that would have contradicted Dawn
                  Roberts’ testimony about Mr. Snow making a toast to William Little after his
                  death;

            j.    failed to use the testimony of Charlie Crowe to impeach Martinez by
                  explaining how many other people he’d identified for this crime, and clearly
                  explaining that when given the perfect opportunity to identify Mr. Snow as the
                  person he claimed he saw, he was unable to do so;

            k.    failed to expose evidence that the victim’s mother had been contacting the key
                  witness in this case, Danny Martinez, possibly at the behest, direction, or with
                  the consent of the Bloomington Police Department;

            l.    failed to use available discovery to impeach testimony by Detectives Thomas
                  and Bernardini, who had falsely implied that Mr. Snow had admitted some
                  involvement in the crime;

            m.    failed to investigate and present evidence from Darren Smart impeaching
                  Mary Jane Burns;

            n.    Frank Picl was an alcoholic, intoxicated at the time of trial and during pretrial
                  proceedings, and was beset by significant personal and professional problems
                  which caused him to provide objectively unreasonable representation to Mr.
                  Snow.

         3. Whether the prosecution violated Mr. Snow’s right to Due Process under the Fifth
and Fourteenth Amendments to the United States Constitution and Article I, Sections 2 and 8 of
the Illinois Constitution by withholding exculpatory and impeachment evidence.
Specifically, the prosecution:

            a.    withheld Jeffery Pelo’s statements that no one could have left the gas station
                  while he was on the scene, which directly contradicted Danny Martinez’s
                  version of events;


                                                8
                                                                                        Revised: 11/03/11
 Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 9 of 33 PageID #:9




        b.    provided affirmative details of the crime to Steve Scheel without disclosing
              that they were the source of this testimony;

        c.    failed to disclose deals they had made with witnesses in exchange for their
              testimony, specifically with respect to Ed Palumbo, Kevin Schaal, Bruce
              Roland, Bill Moffitt, Ronnie Wright, and Karen Strong;

        d.    failed to disclose that they had pressured or threatened witnesses Ed Palumbo,
              Steve Scheel, Randy Howard, Mark McCown, David Arison, Danny Martinez,
              Dan Tanasz, and Leigh Denison;

        e.    withheld evidence of a pattern of misconduct by the Bloomington Police
              Department and the McLean County State’s Attorney’s Office;

        f.    failed to disclose that they had interviewed Darren Smart to confirm Mary
              Jane Burns’s story, and he had instead discredited her story;

        g.    failed to disclose that State’s Attorney Charles Reynard told Ed Palumbo that
              he knew Mr. Snow was innocent, but he prosecuted him anyway because he
              could not charge the true perpetrator.

   4.   Whether Mr. Snow’s right to Due Process under the Fifth and Fourteenth
        Amendments to the United States Constitution and Article I, Sections 2 and 8 of the
        Illinois Constitution was violated by the jury’s consideration of extraneous
        information, namely jurors’ belief that Mr. Snow committed a crime against those
        jurors in the past.

   5.   Whether Mr. Snow’s right to Due Process under the Fifth and Fourteenth
        Amendments to the United States Constitution and Article I, Sections 2 and 8 of the
        Illinois Constitution was violated by the admission of Danny Martinez’s unreliable
        identification.

   6.   Whether Mr. Snow was denied effective assistance of appellate counsel under the
        Sixth and Fourteenth Amendments to the United States Constitution and Article I,
        Section 8 of the Illinois Constitution, to the extent that any of the claims asserted in
        the petition are deemed waived for failure to present them earlier.

   7.   Whether Mr. Snow should be granted post-conviction relief because of the
        cumulative effect of all errors alleged in the petition.

D. Did you receive an evidentiary hearing on your petition?      YES ( ) NO ( X )

E. What was the court’s ruling?

   Dismissal of the petition without an evidentiary hearing. There were no rulings on Mr.

                                             9
                                                                                     Revised: 11/03/11
Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 10 of 33 PageID #:10




   Snow’s prior petitions for post-conviction relief.

F. Date of court’s ruling:          April 21, 2011

G. Did you appeal from the ruling on your petition?                  YES ( X ) NO ( )

H. (a)   If yes,     (1) what was the result?        Dismissal of the petition was affirmed.

                     (2) date of decision:           March 5, 2012 (supplemental opinion filed
                                                     on denial of rehearing)

   (b)   If no, explain briefly why not:             N/A

I. Did you appeal, or seek leave to appeal this decision to the highest state court?

   YES ( X ) NO ( )

   (a)   If yes, (1) what was the result?            Petition for leave to appeal to the Illinois
                                                     Supreme Court was denied.

                   (2) date of decision:             May 30, 2012

   (b)   If no, explain briefly why not:             N/A




                                                10
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 11 of 33 PageID #:11




2. With respect to this conviction or sentence, have you filed a petition in a state court using
   any other form of post-conviction procedure, such as coram nobis or habeas corpus?

       YES ( ) NO ( X )

    A. If yes, give the following information with respect to each proceeding (use separate sheets
       if necessary):       N/A

       1.    Nature of proceeding:

       2.    Date petition filed:

       3.    Ruling on the petition:

       4.    Date of ruling:

       5.    If you appealed, what was the ruling on appeal?

       6.    Date of ruling on appeal:

       7.    If there was a further appeal, what was the ruling?

       8.    Date of ruling on appeal:

3. With respect to this conviction or sentence, have you filed a previous petition for habeas
   corpus in federal court? YES ( ) NO ( X )

    A. If yes, give name of court, case title and case number:      N/A

    B. Did the court rule on your petition? If so, state

       (1)   Ruling:

       (2)   Date:

4. With respect to this conviction or sentence, are there legal proceedings pending in any court,
   other than this petition? YES ( X )               NO ( )

    If yes, explain:

        On May 24, 2013, Mr. Snow filed his First Successive Petition for Post-Conviction Relief
in the Circuit Court of McLean County in Bloomington, Illinois. In his successive petition, he
presents newly discovered evidence (i.e., evidence discovered since he filed his amended petition
for post-conviction relief in January 2010) which shows that he was deprived of effective
assistance of counsel and Due Process. Specifically, Mr. Snow presents: (1) evidence in the form

                                                11
                                                                                        Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 12 of 33 PageID #:12




of a polygrapher’s notes and worksheets that show that Danny Martinez, a key eyewitness, told
police sometime before 1994 that Mr. Snow was not the person who came out of the gas station
when Little was killed; (2) exculpatory polygraph evidence relating to Bruce Roland and Steve
Scheel, both of whom testified against Mr. Snow at trial; and (3) an affidavit from Bruce
Roland’s ex-wife Danielle Prosperini about pressure exerted on Roland to testify against Mr.
Snow.

     On May 24, 2013, Mr. Snow also filed a Motion for Fingerprint and DNA Testing Pursuant
to 725 ILCS 5/116-3 with the Circuit Court of McLean County. This motion seeks forensic
testing on a variety of evidence collected from the scene, including AFIS testing on latent
fingerprints and DNA testing on those fingerprints, liquid blood evidence, bullets, and the
victim’s clothing.




                                              12
                                                                                    Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 13 of 33 PageID #:13




PART III – PETITIOER'S CLAIMS

1. State briefly every ground on which you claim that you are being held unlawfully.
   Summarize briefly the facts supporting each ground. You may attach additional pages stating
   additional grounds and supporting facts. If you fail to set forth all grounds in this petition,
   you may be barred from presenting additional grounds later.

BEFORE PROCEEDIG I THE FEDERAL COURT, YOU MUST ORDIARILY
FIRST EXHAUST YOUR STATE COURT REMEDIES WITH RESPECT TO EACH
GROUD FOR RELIEF ASSERTED.

                                           Introduction

     Mr. Snow was wrongfully convicted of murder and sentenced to life in prison for a crime
that he did not commit. He has already served 14 years in prison and will spend many more if
this injustice is not corrected. Mr. Snow was convicted of the robbery and murder of a young gas
station attendant, William Little, which occurred on Easter 1991. Shortly after the crime
occurred, Mr. Snow was placed into a lineup, but none of the purported eyewitnesses picked him
out of the lineup. The investigation petered out, but eight years after the crime, Mr. Snow was
charged with first degree murder.

     The evidence developed by the police consisted of two things: (1) witnesses who could not
make out an identification at the time of the killing were suddenly able to identify Mr. Snow
years later; and (2) a collection of people facing their own criminal charges and reasons to tell the
police what they wanted to hear suddenly came forward to say that Mr. Snow had “confessed”
his involvement in the murder to them. No physical evidence connected Mr. Snow to the crime.

     Significant constitutional errors resulted in Mr. Snow’s conviction. Those errors, as
discussed below, fall into two general categories. First, Mr. Snow’s counsel was ineffective. His
trial counsel, who was beset with his own personal and professional problems during his
representation of Mr. Snow, failed to interview key witnesses and develop evidence favorable to
Mr. Snow, failed to impeach the State’s witnesses, and failed to investigate. Second, Mr. Snow’s
right to Due Process was violated by the State’s failure to disclose exculpatory information and
impeachment evidence that would have discredited the State’s case and revealed a pattern by the
State of pressuring witnesses and offering them undisclosed deals in exchange for their
cooperation.

    With the exception of a few specific pieces of newly discovered evidence supporting these
claims that Mr. Snow only recently discovered (discussed supra pp. 11-12), Mr. Snow raised and
exhausted these issues in the state courts during his post-conviction proceedings. His claims were
dismissed without an evidentiary hearing. The Illinois appellate court, the last state court to
address Mr. Snow’s claims, found that Mr. Snow’s ineffective assistance of counsel claim was
barred by res judicata. Because no state court has squarely addressed the merits of Mr. Snow’s
ineffective assistance of counsel claim, this Court must address them as law and justice require.
The Illinois appellate court also found that Mr. Snow has not shown that his right to Due Process

                                                 13
                                                                                         Revised: 11/03/11
     Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 14 of 33 PageID #:14




was violated. This conclusion contained unreasonable factual findings and unreasonably applied
clearly established federal law. Mr. Snow deserves a new trial to correct these errors.

    Mr. Snow lays out his specific grounds for relief below but also requests, both herein and in
an accompanying motion, the opportunity to brief the legal issues involved in order to more fully
present his claims.1

    (A) Ground 1: Jamie Snow was denied effective assistance of trial counsel under the
        Sixth and Fourteenth Amendments to the United States Constitution. Mr. Snow
        was denied effective assistance of counsel when his trial counsel:

          (i) failed to use available evidence to discredit and impeach Danny Martinez’s
              testimony that he saw Snow coming out of the gas station

Supporting Facts:

     The prosecution’s star witness, Danny Martinez, provided critical testimony against Mr.
Snow. He claimed that after coming home from a family Easter dinner in 1991, he went to the
gas station to get drinks and put air in his tires. He testified that he heard two “bangs” while
filling his tires. Afterward, he started walking toward the station and noticed a man walking
backwards out of the gas station door. He then claimed he heard his engine about to quit and
turned back around, and that when he turned back toward the station he was within one to three
feet of the man. Martinez testified that although he only saw the man for a few seconds, he would
“never forget those eyes.” Martinez testified that as he started to walk back toward the gas
station, Officer Jeffery Pelo told him to stop, and then told him to move his car and go home.
Martinez testified that he told Pelo about the man he encountered. Martinez viewed an in-person
lineup in June 1991 that included Mr. Snow, but he did not identify anyone. Martinez did not
identify Mr. Snow until eight years later as the person he saw in the parking lot of the gas station.
Martinez testified that he saw Mr. Snow’s photograph in the newspaper after his arrest in 1999
and told his wife that that was the man he saw coming out of the gas station. Then, a few months
before trial, he asked to look at the photograph of the prior lineup and at that time identified Mr.
Snow, saying that he recognized his eyes.

    In his post-conviction petition, Mr. Snow presented a new affidavit from Pelo, the first
responding officer on the scene. Exhibit 1 (Affidavit of Jeffery Pelo). Pelo averred that as he
approached the gas station, he saw Martinez by his car. He then saw Martinez stand up, walk
toward the station, pause and look back. He then walked toward the station and within seconds
walked back to his car. Officer Pelo averred that as Martinez was walking in the parking lot, he

1
  With this Petition, Mr. Snow has attached an exhibit list with exhibits supporting his claim. In support
of this Petition, Mr. Snow is relying on these exhibits as well as the entirety of the record from the state
court proceedings. The documents from the record in the state court proceedings, which includes a
transcript from the original trial, relevant pleadings from the post-conviction proceedings, and a copy of
the Illinois appellate court decision, can be separately provided to the Court, due to their voluminous
size. Petitioner can also provide to the court his First Successive Petition for Post-conviction Relief and
Motion for DNA Testing filed in state court on May 24, 2013.
                                                     14
                                                                                                 Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 15 of 33 PageID #:15




was constantly looking between Martinez, the surroundings, and the front of the station, and that
his gaze was never off the front of the station for more than a few seconds. Pelo further stated
that he is absolutely positive that from the time he arrived at the intersection of the gas station to
the time that he entered the gas station, no one other than William Little was either in the gas
station or entered or exited the gas station. Pelo’s affidavit also stated that when Martinez left the
gas station, he drove west on Empire, away from his home, and that Martinez did not leave at
Pelo’s direction. All of this directly contradicted Martinez’s trial testimony.

     Pelo’s affidavit makes clear that Martinez could not possibly have seen Mr. Snow exiting the
gas station because, given the time line described by Pelo and Martinez, Pelo would have also
seen Mr. Snow exiting the gas station. Mr. Snow’s trial counsel did not speak with Pelo prior to
trial, and if they had, they would have learned this crucial information from Pelo that they could
have used at trial to discredit the testimony of Martinez, the prosecution’s key witness. Trial
counsel also did not make use of police radio tapes or Pelo’s police interview statement, which
were available to them at the time of trial and corroborated Pelo’s account. Exhibit 2 (Police
radio tape recording, March 31, 1991); Exhibit 3 (Jeffery Pelo interview transcript, March 2,
1999).

     Mr. Snow also presented a new affidavit from William Hendricks proving that Martinez
provided false testimony against Mr. Snow. Exhibit 4 (Affidavit of William Hendricks). First,
Hendricks avers that he, Martinez, and Mr. Snow hung out all the time and that Martinez saw
Jamie many times. This discredits Martinez’s trial testimony that he only recognized Jamie from
a photograph in the newspaper eight years after the crime. Second, Hendricks avers that he had
many conversations with Martinez, and that Martinez told him that the composite sketch which
came out of the suspect “wasn’t Jamie, Jamie doesn’t look like that. I know what Jamie looks
like.” Martinez also told Hendricks, “Don’t worry. I don’t believe Jamie did it either.” Hendricks
avers that he only spoke with Mr. Snow’s trial counsel briefly before court and that he did not tell
them about his conversations with Martinez because he did not know that Martinez was claiming
that he did not know Mr. Snow. Hendricks avers that if he had been asked about these issues at
trial, he would have testified consistently with his affidavit.

     Mr. Snow also presented a new affidavit from Dennis Hendricks wherein he states that
Martinez told him sometime after the crime but before Mr. Snow’s trial that Martinez did not
think that Mr. Snow was involved. Exhibit 5 (Affidavit of Dennis Hendricks). Hendricks avers
that he told Mr. Snow’s trial counsel this information, but that they did not want to ask him about
it. Trial counsel did not elicit this information from Hendricks at trial to impeach Martinez.

     Mr. Snow’s counsel also failed to discredit Martinez’s testimony using Officer Paul
Williams’ inquest testimony and initial case report, which were available to them at the time.
Group Exhibit 6 (Inquest testimony of Paul Williams dated May 20, 1991, and Williams initial
case report). Officer Williams stated that he and Pelo arrived at the gas station at the same time,
but that Pelo got out before he did. He further stated that when he heard Pelo arrive and state that
he was out on foot by the station, he pulled his car up closer and waited about 15 or 20 seconds.
He observed Pelo walking up to the station and heard him ask dispatch to hold a license plate. At
that time, Williams had not observed any movement inside the station. Given this testimony and

                                                 15
                                                                                           Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 16 of 33 PageID #:16




narrative, Williams was present and in front of the station from the time that Pelo radioed that he
was outside his car. Given his description of his position, Williams would have seen someone
exiting the station.

     Mr. Snow’s counsel also failed to use available police reports of Martinez’s interviews with
the police to impeach his testimony and provide evidence that Mr. Snow’s identification was
tainted. Group Exhibit 7 (Police reports relating to Danny Martinez). These reports show that,
given multiple opportunities to identify the person he supposedly saw outside the gas station,
Danny Martinez picked two other people as the suspect, failed to select Mr. Snow in the lineup,
and only identified Mr. Snow after seeing his name and photograph in the paper announcing his
arrest for the crime. Martinez looked at a “suspect photo file” in the early morning hours after the
crime and identified two other people. Gerardo Gutierrez, who testified at trial that he saw a
suspicious person at the gas station earlier in the evening, also identified from the photo file one
of the people that Martinez identified as the suspect. Counsel also failed to call Detective Charles
Crowe to impeach Martinez by explaining how many other people he’d identified for this crime,
and clearly explaining that when given the perfect opportunity to identify Mr. Snow as the person
he claimed he saw, he was unable to do so.

     In addition, police reports available to Mr. Snow’s counsel contained a police interview with
Martinez in which Martinez told Detectives Katz and Barkes that the victim’s mother, Mrs.
Little, had been calling him, and that he did not know how she got his number. In the report,
Detective Barkes acknowledges that he gave Martinez’s number to Mrs. Little and states that he
would explain why he had given her his number. This shows that the police had been pressuring
Martinez through Mrs. Little, or that, at the very least, she was doing so with the officers’
knowledge or acquiescence. Trial counsel could have cross-examined Martinez to show that his
testimony had been unduly influenced, but they did not do so.

    Counsel’s failures fell below an objective standard of reasonableness, and there is a
reasonable probability that the result of the proceedings would have been different absent these
errors.

       (ii) failed to call Thomas Sanders, whose testimony was readily available from
            Susan Claycomb’s trial, to discredit Carlos Luna’s “identification” of Jamie
            Snow

Supporting Facts:

    The only person to identify Mr. Snow in the lineup was Carlos Luna. He claimed that he
identified Mr. Snow from a distance of over 200 feet because of the shape of his face and his
hair. In a recent affidavit, Luna clarifies that he identified Mr. Snow because he was the person
who “best fit” the description of who he originally observed and because, as a 14-year-old, he
thought the police had caught the right person. Exhibit 8 (Affidavit of Carlos Luna).

   Trial counsel failed to use testimony from Thomas Sanders, a sketch artist for the
Bloomington Police Department, to discredit Luna’s trial testimony. Sanders testified at Mr.

                                                16
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 17 of 33 PageID #:17




Snow’s co-defendant Susan Claycomb’s trial (which took place before Mr. Snow’s trial) that
shortly after the crime, he spoke with Luna but Luna could not make a composite drawing based
on what Luna told him because he couldn’t provide enough information to complete an effective
composite. Exhibit 9 (Thomas Sanders testimony in People v. Claycomb, No. 99 CF 1017). For
Martinez and Gutierrez, Sanders was able to elicit specific details about the person those
witnesses believed they saw and generate a composite drawing based on this information.
Sanders could not do this for Luna because Luna simply did not have a good enough look at the
person he said he saw walking outside the gas station. This evidence was available to Mr. Snow’s
trial counsel at the time of trial. Their failure to use it to challenge Luna’s identification fell
below an objective standard of reasonableness, and there is a reasonable probability that the
result of the proceedings would have been different absent these errors.

       (iii) failed to investigate, interview, or adequately cross-examine Steve Scheel, who
             told investigator Larry Biela that had counsel spoken to him in advance, would
             have told them that the prosecutor and police had pressured him to testify
             falsely

Supporting Facts:

    Steve Scheel testified at trial that Mr. Snow told him that he committed this crime, and he
provided detailed testimony about Mr. Snow making inculpatory statements to him at a party.
Scheel has since recanted that testimony and explained that his testimony was the product of
police pressure. He also explains that certain of the testimony he gave was specifically coached
by the prosecutor and police.

     Scheel explained that the Bloomington Police and the McLean County State’s Attorney
pressured him to cooperate and he was afraid what would happen if he did not say what they
wanted him to say. Exhibit 10 (Affidavit of Larry Biela); Exhibit 11 (Affidavit of Anthony
Matens). He also stated that he felt pressure to tell the detectives what they wanted to hear
because he was on parole, this parole could be revoked, and he knew he would not get out of the
room with them unless he cooperated. He finally agreed to testify because Detective Katz and
State’s Attorney Charles Reynard agreed to “stop harassing him” if he testified. Scheel stated that
his trial testimony was coached, and that right before he testified Katz and Reynard told him
what to say regarding what clothes Mr. Snow was wearing the night that he supposedly confessed
to him. Scheel also made clear that Mr. Snow never said anything to him about a gas station
robbery.

    Scheel also stated that before Mr. Snow’s trial, no investigator or lawyer for Mr. Snow came
to speak with him. He stated that if they had, he probably would have told them what had
happened in his interviews with the police and that he had been pressured.

    Counsel’s failures fell below an objective standard of reasonableness, and there is a
reasonable probability that the result of the proceedings would have been different absent these
errors.


                                                17
                                                                                        Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 18 of 33 PageID #:18




       (iv) failed to investigate and present evidence that would have contradicted Dawn
            Roberts’s testimony

Supporting Facts:

    Dawn Roberts testified at trial that in 1993 or 1994, Mr. Snow discussed the composite
drawings of the suspect in the murder that were posted around town. She testified that Mr. Snow
told the group of people they were sitting with to take down the drawings and bring them to him.
She stated that she took a drawing to Mr. Snow’s house and that she heard Mr. Snow tell
someone else that the composite drawing was of him. She also testified that, on another occasion,
Mr. Snow poured out beer on the ground and made a toast to Billy Little.

     Roberts has now recanted her trial testimony. Exhibit 12 (Affidavit of Dawn Roberts). She
states that she did take down composite drawings, but that Mr. Snow did not know this until
afterward. She also states that when she observed Mr. Snow make a toast, he said it was for
“Billy” and it was not a toast for Billy Little but for Billy McWhorter. Billy McWhorter was a
person they knew who had died before the toast. Roberts also states that no one from Mr. Snow’s
defense team came to speak with her; if they had, she would have told them that this toast was
for Billy McWhorter. Roberts’ recantation is supported by Tina McCombs, who was Billy
McWhorter’s sister. Exhibit 13 (Affidavit of Tina McCombs). In McCombs’ affidavit, she states
that she was present at the party where there was a toast to a “Billy”, and that if she had been
called to testify at trial, she would have testified that she was at a cookout when Dennis
Hendricks made a toast “to the brothers that aren’t here, naming Steve Graham and Billy
McWhorter.” McCombs avers that she went to court to testify in Mr. Snow’s case, but that while
she was waiting to testify, Detective Barkes come out into the hallway and told her that she was
not needed and that she could go home.

    If Mr. Snow’s trial counsel had spoken with Roberts prior to trial or called Roberts or
McCombs to testify, they would have known this information and been able to use it to
effectively cross-examine and impeach Roberts. Their failure to do so was objectively
unreasonable, and there is a reasonable probability that the result of the proceedings would have
been different absent this error.

       (v)   failed to impeach Karen Strong’s testimony with the testimony of Mark
             Huffington

Supporting Facts:

     Karen Strong testified at trial that she lived with Mark McCown on Easter 1991. She testified
that late in the evening, McCown came home with Jamie Snow and asked her if Mr. Snow could
stay with them for a few days. She told him no. She further testified on rebuttal that McCown
told her that Mr. Snow had said that he committed the robbery and murder at the gas station.

    Mr. Snow submitted a new affidavit from Mark Huffington with his post-conviction petition.

                                                18
                                                                                       Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 19 of 33 PageID #:19




Exhibit 14 (Affidavit of Mark Huffington). In it, Huffington avers that he and Strong had several
conversations about Mr. Snow’s case in 1995, 1996, and again in 1999. He states that Strong told
him that the night Little was killed, McCown woke her up when he got home. Strong told
Huffington that this was all she knew about the case, and that she and McCown had not talked
that night. Huffington states that Mr. Snow’s attorney never came to talk to him about this or any
other aspect of Mr. Snow’s case. If Mr. Snow’s trial counsel had spoken with Huffington, they
could have called him to testify and impeach Strong. Their failure to do so was objectively
unreasonable, and there is a reasonable probability that the result of the proceedings would have
been different absent this error.

       (vi) failed to investigate available evidence that witnesses received deals in
            exchange for their testimony, and failed to use that evidence to impeach those
            witnesses

Supporting Facts:

     Kevin Schaal, who was sentenced for a federal crime in Florida before testifying at Mr.
Snow’s trial, claimed on the stand that he had no idea whether the judge took his cooperation into
consideration. Sentencing documents from Schaal’s conviction, however, show that on July 19,
2000, prosecutors filed a motion for downward departure in Schaal’s case specifically requesting
a reduction in sentence because “the defendant had provided information valuable to the murder
trial and has agreed to testify in that trial if called upon to do so.” Group Exhibit 15 (Filings in
United States v. Schaal, No. 3:00-CR-103-J-25C, at 1, United States Motion for Downward
Departure from Sentencing Guidelines). The docket sheet in Schaal’s case specifically reflects
that on July 24, 2000, the court orally granted the motion “to recognize defendant’s substantial
assistance pursuant to Rule 5k1.1.” Id. (Filings in United States v. Schaal, Docket sheet).

    Bruce Roland testified at trial that Mr. Snow had confessed to him and that he was coming
forward because his attorney advised him to, not because he was given any promises or
guarantees in exchange. However, police reports related to Bruce Roland clearly reflect that
State’s Attorney Reynard, through the Bloomington Police Department, advised Roland that his
office had a history of taking persons’ cooperation into consideration at sentencing time. Group
Exhibit 16 (Roland sentencing documents, December 1, 1999 Narrative Report at 1). An
investigator who had a conversation with Roland’s attorney confirmed that this conversation took
place. Id. (Roland sentencing documents, Matens Memorandum at 1).

    Jody Winkler testified at trial that Mr. Snow had made inculpatory statements to him in
Florida. At trial, he also denied that he had received anything in exchange for his cooperation
with the state. However, available documents at the time show that Winkler was sentenced on a
forgery charge on January 28, 2000, and that on this date, he received an agreed plea for this
charge. Exhibit 17 (Jody Winkler sentencing documents). These documents show that Winkler
received only a four-year sentence when he faced 10 years for this crime given his criminal
history.

    This information was available to Mr. Snow’s counsel prior to trial. Their failure to use it to

                                                19
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 20 of 33 PageID #:20




impeach Schaal, Roland, and Winkler was objectively unreasonable, and there is a reasonable
probability that the result of the proceedings would have been different absent this error.

       (vii)   failed to investigate and present evidence from Darren Smart impeaching
               Mary Jane Burns

Supporting Facts:

    Mary Jane Burns, a former McLean County Correctional Officer, testified that she spoke
with Mr. Snow in the jail and that Snow told her that he thought he knew who committed the
murder. Burns testified that Mr. Snow made this statement in front of herself and another inmate,
Darren Smart. She also stated in an interview with the police that she had this conversation with
Mr. Snow and two other inmates. Exhibit 18 (Statement of Mary Jane Burns). She claimed that
Mr. Snow told her he believed the other person who was in the car committed the murder.

     Darren Smart has averred in an affidavit that Mr. Snow never made any such statements.
Exhibit 19 (Affidavit of Darren Smart). He states that never at any time did Mr. Snow ever state
that he knew who committed the Little murder, and that all Mr. Snow had ever said was that he
did not commit the crime and did not know who did.

    This information was available to Mr. Snow’s counsel prior to trial. Their failure to
investigate and present this testimony from Smart impeaching Burns was objectively
unreasonable, and there is a reasonable probability that the result of the proceedings would have
been different absent the error.

       (viii) failed to use available discovery to impeach testimony by Detectives Thomas
              and Bernardini, who had falsely implied that Mr. Snow had admitted some
              involvement in this crime

Supporting Facts:

     Detectives Russell Thomas and Michael Bernardini testified about comments that Mr. Snow
purportedly made to them after he was arrested on April 24, 1991 along the lines that he wanted
“assurances” and that he would be able to explain what had happened. The officers implied in
their testimony that these comments related to the Little murder. However, Mr. Snow was
actually arrested on this date for an unrelated armed robbery. In their grand jury testimony,
Detective Thomas clearly testified that these comments by Mr. Snow had to do with the unrelated
crime, not the Little robbery and murder. Exhibit 20 (Grand jury testimony of Russell Thomas at
13).

    This information was available to Mr. Snow’s counsel prior to trial. Their failure to use it to
impeach Detectives Thomas and Bernardini was objectively unreasonable, and there is a
reasonable probability that the result of the proceedings would have been different absent this
error.


                                                20
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 21 of 33 PageID #:21




       (ix) failed to raise any factual issue or claim raised in this petition, to the extent
            known or available to trial counsel

Supporting Facts:

    To the extent that this Court finds that trial counsel knew of or could have known of any of
the evidence discussed in this petition (including evidence discussed below in Ground 4), then
counsel’s failure to use that evidence was objectively unreasonable. If counsel had used this
evidence, there is a reasonable probability that the result of the proceedings would have been
different absent these errors.

    At the time of trial and during his representation of Mr. Snow, lead trial counsel Frank
Picl was beset by personal and professional problems which contributed to his objectively
unreasonable performance, as set forth in Ground 1, subparts (i) through (ix) above.

     Frank Picl was Mr. Snow’s lead trial counsel. Mr. Snow was also represented by G. Patrick
Riley during trial, but his role was limited due to a stroke that he had suffered prior to trial. Frank
Picl examined all witnesses in this case and did nearly all of the in-court work on the case. New
evidence has come to light since Mr. Snow’s conviction which shows that at the time Picl
represented him, he was a severe alcoholic. Group Exhibit 21 (ARDC Documents related to
Frank Picl); Group Exhibit 22 (Sentencing documents related to Frank Picl); Exhibit 23
(Affidavit of Maureen Kevin). He also received several other sanctions for problems related to
client representation during the period that he represented Mr. Snow, including the failure to file
appellate documents for clients. These problems resulted in Picl’s felony conviction in 2006 for
theft and financial exploitation of an elderly person who was his client, and his voluntary
disbarment. Picl originally tried to plead guilty but mentally ill to these charges but ultimately
just pled guilty.

     Picl’s sentencing transcripts reveal that he was impaired by severe alcoholism since the mid-
1990s, that this had a serious adverse effect on his life and impacted his representation of Mr.
Snow. Not only was Picl an alcoholic, but he was a gambling addict and mentally ill. Several
mental health professionals testified that Picl suffered from bipolar disorder, depression, and
obsessive compulsive disorder characterized by alcoholism. Picl had been treated for depression
starting in October 2000, which was around the time of Mr. Snow’s pretrial hearings and just a
few months before Mr. Snow’s trial in January 2001. See Group Exhibit 22. Furthermore, Dr.
Jane Valez testified at Picl’s sentencing hearing that he had been suffering from different
combinations of illnesses that had affected him most of his adult life and which rendered him
unable to function and think clearly and rationally. Id. Picl testified at his own sentencing hearing
that he had been impaired since about 1991-96, that outside of court, he had “all the time in the
world to drink” and that he drank four to ten hours a day. Id. He also testified that he had
problems completing professional tasks. He specifically testified at his sentencing hearing that
he began to drink in 2000 because of the stress of a murder trial at that time; this timing
corresponds with Mr. Snow’s trial. Id.


                                                  21
                                                                                           Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 22 of 33 PageID #:22




    These facts support Mr. Snow’s claims of ineffective assistance of counsel because his
claims have less to do with his counsel’s in-court performance than with all of the decisions and
work that must be done outside of court – investigating evidence, seeking impeachment,
interviewing witnesses, issuing subpoenas for evidence, the very things that were not done in Mr.
Snow’s case that contributed to the constitutional deficiencies in the case.

    (B) Ground 2: Jamie Snow was denied effective assistance of counsel under the Sixth
        and Fourteenth Amendments to the United States Constitution through cumulative
        errors made by trial counsel.

Supporting Facts:

    The errors of trial counsel described above were cumulative errors. Each of these errors is
sufficient for relief under the United States Constitution, but when read together, the sum
prejudice of these errors is irrefutable evidence that Mr. Snow was denied a fair trial under the
law due to the ineffective assistance of counsel.

    (C) Ground 3: Jamie Snow was denied effective assistance of appellate counsel under
        the Sixth and Fourteenth Amendments to the United States Constitution to the
        extent that his appellate counsel failed to raise meritorious issues in this case.

Supporting Facts:

    To the extent that this Court finds that Mr. Snow failed to exhaust any of the above claims,
then Mr. Snow’s counsel on direct appeal was ineffective for failing to raise claims that he could
have raised on direct appeal.

    (D) Ground 4: Jamie Snow was denied Due Process under the Fifth and Fourteenth
        Amendments to the United States Constitution when the prosecution failed to
        disclose materially favorable evidence. Mr. Snow was denied his right to a fair trial
        when the police and/or prosecution:

         (i) provided affirmative details of the crime to witness Steve Scheel without
             disclosing that they were the source of this testimony

Supporting Facts:

     As discussed supra p. 17, Steve Scheel testified at trial that Mr. Snow told him that he
committed this crime, and he provided detailed testimony about Mr. Snow making inculpatory
statements to him at a party. Scheel has recanted that testimony and explained that his testimony
was the product of police pressure. He also explains that certain of the testimony he gave was
specifically coached by the prosecutor and police. Mr. Snow incorporates herein the supporting
facts set forth above in Ground 1, subpart (iii). These facts show that the prosecution failed to
disclose materially favorable evidence, and there is a reasonable probability that had the evidence

                                                22
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 23 of 33 PageID #:23




been disclosed, the outcome of his trial would have been different.

         (ii) failed to disclose deals they had made with witnesses in exchange for their
              testimony or pressure they had exerted on witnesses for their testimony

Supporting Facts:

     Ed Palumbo, who testified at trial that Jamie Snow told him after the crime that the gun went
off, Little died, and that he shot Little because he was a “smart ass,” has submitted a new
affidavit admitting that he testified falsely against Mr. Snow because he was trying to get a deal
on charges he was facing. He also avers that he testified falsely because the police and prosecutor
told him that if he did not testify, he would be put in segregation in prison, be charged with
perjury, or get five years in prison for not cooperating. He also states that the prosecutor told him
that if there was any prison that he wanted to go to, he would see what he could do. He also states
that the prosecutor told him that he knew that Mr. Snow did not commit the crime, someone else
had, but that since they could not get the other person, Mr. Snow would have to do. Exhibit 24
(Affidavit of Ed Palumbo). Like other witnesses, when Palumbo was interviewed by the police,
he did not give the details that he eventually gave at trial. In fact, in a statement Palumbo gave to
the police implicating himself in a different crime, when asked if he knew if anyone had done
any armed robberies, Palumbo implicated Mr. Snow and someone else in a wholly different
crime. He did not mention the Clark gas station robbery and murder. Exhibit 25 (Police reports
relating to Ed Palumbo).

    Bill Moffitt, who was in prison at the time of trial, testified at trial that he was a cellmate
with Mr. Snow at Joliet Correctional Center in October 1994, and that during their first night as
cellmates, Mr. Snow told him that he had robbed a gas station and shot the attendant because he
was getting high with people and ran out of money.

     Mr. Snow has presented an affidavit from Dennis Hendricks stating that Bill Moffitt told him
while they were both in prison that he testified against Mr. Snow in exchange for getting a time
cut. Exhibit 5 (Affidavit of Dennis Hendricks); see also Group Exhibit 26 (Police reports relating
to Bill Moffitt).

    As discussed supra p. 19, Kevin Schaal, who was sentenced for a federal crime in Florida
before testifying at Mr. Snow’s trial, claimed on the stand that he had no idea whether the judge
took his cooperation into consideration. Sentencing documents from Schaal’s conviction,
however, show that prosecutors filed a motion for a downward departure in Schaal’s case
requesting a reduction in sentence to recognize his substantial assistance in the murder trial. See
Group Exhibit 15.

     As discussed supra p. 19, the prosecutor advised Roland that his office had a history of
taking persons’ cooperation into consideration at sentencing time. Group Exhibit 16 (Roland case
documents, December 1, 1999 Narrative Report at 1). Furthermore, at the time of Mr. Snow’s
trial, Roland had several pending felony convictions on which he received light sentences and
special considerations, such as bond, a favorable deal that ignored his multiple charges, and

                                                 23
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 24 of 33 PageID #:24




permission to leave the State of Illinois. Id.

    Mr. Snow recently obtained an affidavit from Danielle Prosperini, the ex-wife of Bruce
Roland. Exhibit 27 (Affidavit of Danielle Prosperini). She was previously unknown to Mr. Snow
and contacted Mr. Snow’s legal team after seeing information about his case in the media.
Prosperini states that she was with Roland during the time the police were investigating Mr.
Snow. The day after Mr. Snow was convicted, she spoke with Roland, and he told her that “[h]is
guilt was riding him” and that he lied at trial against Mr. Snow. Roland also told her that he
contacted Detective Crowe telling him that he had information about the case he would provide
if Detective Crowe would assist him. Roland also told Prosperini that Mr. Snow had only talked
to him about a different crime involving the Freedom gas station, not the Little robbery and
murder. Prosperini states that after Roland was charged with a DUI , Detective Katz told her that
“Bruce would be put away unless he helped them.” As a result, Roland got an attorney and met
with Detective Katz. Prosperini also states that Detective Katz pressured her as a way to pressure
Roland, by telling her that he could make Roland go away for a long time and telling her that he
could take her kids away or adversely affect her in-home day care license. She also states that
Roland took and failed two polygraph exams and that the information he gave them about Mr.
Snow was false. She explained that the police helped Roland with his first DUI. In sum,
Prosperini’s affidavit shows that Roland was given assistance with his DUI case and was
threatened, both directly and through Prosperini, in order to provide assistance to the State.

    As discussed supra p. 17, Steve Scheel has stated that the Bloomington Police and the
McLean County State’s Attorney pressured and threatened him into giving false testimony
against Mr. Snow. See Exhibit 10 (Affidavit of Larry Biela); Exhibit 11 (Affidavit of Anthony
Matens). Scheel’s trial testimony was also coached, and Detective Katz and Reynard told him
what to say regarding what clothes Mr. Snow was wearing the night that he supposedly confessed
to him.

    As discussed supra p. 19, Jody Winkler denied at trial that he had received anything in
exchange for his cooperation with the state. However, Winkler was sentenced on a forgery
charge on January 28, 2000, and that on this date, he received an agreed plea for this charge.
Exhibit 17 (Jody Winkler sentencing documents). These documents show that Winkler received
only a four-year sentence when he faced 10 years for this crime given his criminal history.

     Numerous other facts support and corroborate Mr. Snow’s claim that the police had
pressured and threatened witnesses to testify against him. Randy Howard, who testified against
Mr. Snow at trial, has stated in a new affidavit that in his interview with Bloomington detectives
before he appeared at the grand jury, he “answered yes to their questions to get them out of the
door. It was really early in the morning and I was sick of them. To this day I’m not sure what they
asked me.” Exhibit 28 (Affidavit of Randall Howard). Like Ed Palumbo, Howard did not initially
tell police that Mr. Snow had implicated himself. When he first spoke with the police, he said
nothing about Mr. Snow’s involvement in this murder. Exhibit 29 (Police reports relating to
Randall Howard, April 11, 1991 supplemental case report at 2).

    Dan Tanasz, who also testified against Mr. Snow at trial, has recently recanted his testimony,

                                                 24
                                                                                       Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 25 of 33 PageID #:25




saying that Mr. Snow never told him that he was involved in a murder or robbery. Exhibit 30
(Affidavit of Dan Tanasz). Contrary to what he said at trial, Tanasz says that Mr. Snow did tell
him that the police were accusing him of a robbery, but not that he had been in a robbery. He also
details the repeated visits he received from the police and pressure that they exerted on him to
testify against Mr. Snow. Tanasz also states that as he was waiting to testify, he was given a
newspaper with an article about the trial in its headline.

    Mark McCown and David Arison were also pressured by the police to testify against Mr.
Snow. Exhibit 31 (Affidavit of Mark McCown); Exhibit 32 (Affidavit of David Arison).
McCown avers that he was visited several times by Detective Katz while he was incarcerated and
“got the feeling [Katz] was trying to coax me to agreeing with his version of the facts even
though that wasn’t true. He was trying to get me to say what he wanted me to say.” Arison
describes how the police came to speak with him in Florida and pressured him to say that Mr.
Snow confessed to him, which was not true.

    Leigh Denison, who did not testify at trial, states in an affidavit that he was a friend of Mr.
Snow’s who lived with him in Florida in the late 1990s when the Bloomington police were
investigating this case. Exhibit 33 (Affidavit of Leigh Denison). In 1998, he was contacted by
two detectives from the Bloomington Police Department, who threatened to charge him as an
accessory if he did not lie and say that Mr. Snow had committed this crime.

    And finally, as described above, the fact that the police had given Danny Martinez’s phone
number to Mrs. Little and were responsible for her attempts to contact him support this pattern of
police misconduct and police pressure.

    All of this information was material, impeaching, and exculpatory, and none of it disclosed
to Mr. Snow or his defense team. These facts show that the prosecution failed to disclose
materially favorable evidence, and there is a reasonable probability that had the evidence been
disclosed, the outcome of his trial would have been different.

         (iii) withheld evidence of a pattern of misconduct by the Bloomington Police
               Department and the McLean County State’s Attorney’s Office;

Supporting Facts:

    In the time since Mr. Snow was convicted, new evidence has surfaced demonstrating a
pattern of misconduct by the McLean County State’s Attorney’s Office and the Bloomington
Police Department. In addition to the pattern of misconduct in this very investigation, as
described in Ground 4 above, in two recent post-conviction cases from Bloomington, Illinois
courts have found that exculpatory evidence was withheld from McLean County defendants, and
on that basis have reversed convictions and granted those defendants new trials.

    In People v. Beaman, No. 94 CF 476, the Illinois Supreme Court found that Beaman’s
constitutional rights were violated when prosecutors from the Office of the McLean County
State’s Attorney failed to disclose exculpatory evidence that a “Doe” suspect was a viable

                                                 25
                                                                                          Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 26 of 33 PageID #:26




alternative suspect. Group Exhibit 34 (Pleadings and opinions in People v. Beaman). Beaman
was granted a new trial and was not re-prosecuted for this crime, and recently received a
Certificate of Innocence from the Illinois courts. Charles Reynard, the same state’s attorney who
prosecuted Mr. Snow’s case, was involved in Beaman’s prosecution.

     In People v. Drew, No. 98 CF 790, the circuit and appellate courts found that Eric Drew’s
constitutional rights were violated when prosecutors failed to disclose the full extent of
consideration and assistance with other criminal cases that the key witness in his case had
received from the State’s Attorney’s Office and the Bloomington Police Department, specifically
Detective Dan Katz. Group Exhibit 35 (Opinions and testimony in People v. Drew). The court in
that case found that the prosecutor involved in the case and Detective Katz’s were not credible in
denying that undisclosed benefits were provided. Id. The court also found that main witness
credible when he claimed that both the prosecutor and Detective Katz “urged him to lie about the
events surround [the] shooting.” Mr. Drew was also granted a new trial and released from prison
after entering a plea.

    These facts show that the prosecution failed to disclose materially favorable evidence of a
pattern of misconduct, and there is a reasonable probability that had this evidence been disclosed,
the outcome of Mr. Snow’s trial would have been different.

         (iv) failed to disclose that State’s Attorney Charles Reynard told Ed Palumbo
              that he knew Mr. Snow was innocent, but he prosecuted him anyway because
              he could not charge the true perpetrator

Supporting Facts:

    Ed Palumbo avers in his affidavit that after he testified against Mr. Snow, prosecutor
Reynard told him that Jamie had not committed this crime and that someone else had, but “since
they couldn’t get that other person Jamie would have to do.” Exhibit 24 (Affidavit of Ed
Palumbo). If the prosecutor was willing to acknowledge to a witness that Mr. Snow was
innocent, the basis for his knowledge would be material to establishing Mr. Snow’s innocence.
This information was materially favorable and not disclosed to Mr. Snow or his defense team.
There is a reasonable probability that had the evidence been disclosed, the outcome of his trial
would have been different.

       (v)   failed to disclose documents and information indicating that Danny Martinez
             told authorities in or prior to 1994 that Mr. Snow was not the person he saw at
             the gas station

Supporting Facts:

    Through a recent FOIA request, see Exhibit 36 (July 16, 2012 FOIA response letter), Mr.
Snow recently obtained new evidence showing that Danny Martinez actually told police that Mr.
Snow was not the person he saw outside the gas station where Bill Little was killed. This
information was never produced to Mr. Snow at any point in this litigation, and it was first

                                                26
                                                                                        Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 27 of 33 PageID #:27




discovered by Mr. Snow when he received this FOIA response. This evidence consists of a
polygrapher’s notes and worksheets of polygraph exams taken in this case. Exhibit 37 (McCann
polygraph worksheet). The polygrapher’s notes dating from 1994 state, “w says this is not person
he saw”. “W” refers to Danny Martinez, and the “person” referred to is Mr. Snow. This indicates
that the polygrapher received information from investigators that Martinez told authorities at
some point prior to 1994 that Mr. Snow was not the person he saw outside the gas station. An
investigator for Mr. Snow contacted the polygrapher (Terrence McCann) and attempted to speak
with him, but he declined to speak without the permission of the Bloomington Police Department
or the Illinois State Police. See Exhibit 38 (Affidavit of Kaeleigh Rousey).

     This information was materially favorable and never disclosed to Mr. Snow or his defense
team. There is a reasonable probability that had the evidence been disclosed, the outcome of his
trial would have been different.

       (vii)      failed to disclose impeachment evidence relating to Steve Scheel

Supporting Facts:

     A report of a polygraph examination conducted on Steve Scheel on October 12, 1993
indicates that he was asked whether Mr. Snow had told him that he had robbed and killed the gas
station attendant. The report indicates that, contrary to what he said at trial, Scheel stated that Mr.
Snow had not told him these things. Exhibit 39 (October 27, 1993 Scheel polygraph report). This
report was never disclosed to Mr. Snow or his defense team. If it had been disclosed, the report
could have been used to impeach Steve Scheel by cross-examining him as to the answers that he
gave during the examination, and counsel could have called Craig Hansen, the polygraph
examiner, to testify and impeach Scheel. Furthermore, the version of the report that the
prosecution did disclose to the defense contained the exact opposite answers from Scheel during
the same examination on October 12, 1993. Exhibit 40 (Redacted January 24, 2000 Scheel
polygraph report). The disclosed version of the report indicates that Scheel answered “Yes” in
response to the questions whether Mr. Snow told him that he robbed the Clark gas station and
shot the attendant. The disclosed version of the report also redacted the examiner’s conclusion
about whether Scheel was lying. Compare Exhibit 40 with Exhibit 41 (Unredacted January 24,
2000 Scheel polygraph report). There is no explanation for why the report of Scheel’s polygraph
examination results were “amended” seven years after the fact. These facts show that the
prosecution hid the original, materially favorable report, which would have provided crucial
impeachment of Scheel on whether Mr. Snow ever confessed to him. To prevent Mr. Snow’s
counsel from learning the truth and keep Scheel’s earlier protestations a secret, the prosecution
produced only the “amended” (and redacted) version of the report, rather than producing the
truth.

         (viii)      failed to disclose polygraph examination results of Bruce Roland

Supporting Facts:

    Through a recent FOIA request, Mr. Snow received a copy of a polygraph report indicating

                                                  27
                                                                                           Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 28 of 33 PageID #:28




that on December 17, 1999, the Illinois State Police subjected Bruce Roland to a polygraph
examination. Exhibit 42 (Unredacted January 5, 2000 Roland polygraph report). Only the
redacted version of this report had earlier been produced to Mr. Snow’s counsel. Exhibit 43
(Redacted January 5, 2000 Roland polygraph report). In this polygraph examination, the
examiner asked Roland if he was telling the truth when he told the police that Mr. Snow had told
him he was involved in Little’s death. The report indicates that Roland answered “yes” to these
questions, but that the examiner concluded that he was not telling the truth. In the version of the
report that was disclosed to Mr. Snow’s counsel, the examiner’s conclusion that Roland was
being deceptive had been redacted. See id. The recently discovered unredacted report also
indicates that Roland gave “erratic and inconsistent” responses to the question of whether Mr.
Snow told him that he had shot someone at the Clark gas station. See Exhibit 42. These “erratic
and inconsistent” responses prevented the examiner from providing any conclusion about
Roland’s truthfulness. Id. This unredacted report contained materially favorable evidence
showing that Roland was not telling the truth, and it was not disclosed to Mr. Snow or his
defense team. There is a reasonable probability that had the evidence been disclosed, the outcome
of Mr. Snow’s trial would have been different.

    (E) Ground 5: The above errors, cumulatively, so infected Mr. Snow’s trial that they
        violated his right to Due Process under the Fifth and Fourteenth Amendments to
        the United States Constitution.

Supporting Facts:

    Even if this Court concludes that certain of the claims above did violate Mr. Snow’s rights,
but that those violations were not sufficiently prejudicial to warrant a new trial, the errors
described above so infected his trial as to deny him the right to Due Process under the Fifth and
Fourteenth Amendments.

2. Have all grounds raised in this petition been presented to the highest court having
   jurisdiction?

       YES ( ) NO ( X )

3. If you answered “O” to question (2), state briefly what grounds were not so presented and
   why not:

     As discussed supra pp. 11-12, on May 24, 2013, Mr. Snow filed his First Successive Petition
for Post-Conviction Relief in the Circuit Court of McLean County in Bloomington, Illinois. In
his successive petition, he presents newly discovered evidence which shows that he was deprived
of effective assistance of counsel and Due Process. Specifically, Mr. Snow presents (1) evidence
in the form of a polygrapher’s notes and worksheets that show that Danny Martinez, a key
eyewitness, told police that Mr. Snow was not the person who walked outside of the gas station
when Little was killed; (2) materially favorable polygraph evidence relating to Bruce Roland and
Steve Scheel, both of whom testified against Mr. Snow at trial; and (3) an affidavit from Bruce
Roland’s ex-wife Danielle Prosperini about pressure exerted on Roland to testify against Mr.

                                                28
                                                                                         Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 29 of 33 PageID #:29




Snow. These facts support Mr. Snow’s Due Process claim and are raised above in Ground 4,
subparts (ii), (vi), (vii) and (viii). (To the extent that this Court finds that any of this evidence
was known or could have been known to Mr. Snow’s trial counsel, he has included it in Ground
1, subpart (ix).) These specific factual grounds were not raised earlier because the evidence
relating to them is newly discovered. Mr. Snow has incorporated these issues into this habeas
petition but has raised them in his first successive post-conviction petition in state court in order
to meet the exhaustion requirement. See Petitioner’s Motion to Stay and Abey, filed
contemporaneously with this petition.




                                                 29
                                                                                           Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 30 of 33 PageID #:30




PART IV – REPRESETATIO

Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment attacked herein:

    (A) At preliminary hearing

    Public Defender for McLean County (appointed)
    104 W. Front St., Room 603
    Bloomington, IL 61701

    (B) At arraignment and plea

    Public Defender for McLean County (appointed)
    104 W. Front St., Room 603
    Bloomington, IL 61701

    (C) At trial

    Frank M. Picl (appointed)
    (Currently disbarred and not licensed to practice law)
    P.O. Box 3420
    Peoria, IL 61612

    G. Patrick Riley (appointed)
    Harrod Law Firm P.C.
    107 E. Eureka St.
    Eureka, IL 61530

    (D) At sentencing

    Frank M. Picl (appointed)
    (Currently disbarred and not licensed to practice law)
    P.O. Box 3420
    Peoria, IL 61612

    G. Patrick Riley (appointed)
    Harrod Law Firm P.C.
    107 E. Eureka St.
    Eureka, IL 61530

    (E) On appeal

    Daniel Yuhas, Appellate Defender (appointed)
    Karen Munoz, Assistant Defender

                                               30
                                                                                    Revised: 11/03/11
Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 31 of 33 PageID #:31




Office of the State Appellate Defender
Fourth Judicial District
400 S. Ninth St., Suite. 102
Springfield, IL 62705

(F) In any post-conviction proceeding

David Butler (counsel appointed on September 29, 2004; withdrawal allowed January 4,
2005)
205 N. Main St., Suite 103
Bloomington, IL 61701

W. Keith Davis (counsel appointed on January 4, 2005; withdrawal allowed April 3, 2007)
103 N. Main St.
Bloomington, IL 61701

Jon Loevy
Russell Ainsworth
Gayle Horn
Tara Thompson (retained counsel; filed appearance on April 28, 2008)
Elizabeth Wang
THE EXONERATION PROJECT
  at the University of Chicago Law School
6020 S. University Ave.
Chicago, IL 60637

(G) Other (state):    N/A




                                         31
                                                                               Revised: 11/03/11
    Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 32 of 33 PageID #:32




PART V – FUTURE SETECE

Do you have any future sentence to serve following the sentence imposed by this conviction?

YES ( ) NO ( X )

Name and location of the court which imposed the sentence:        N/A

Date and length of sentence to be served in the future:   N/A




                                                32
                                                                                    Revised: 11/03/11
       Case: 1:13-cv-03947 Document #: 1 Filed: 05/28/13 Page 33 of 33 PageID #:33




           5/28/2013                        /s/ Elizabeth Wang




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